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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

BRIAN ALLEN,

       Plaintiffs,

v.                                                    Civil Action No.

RICHARD JAMES SIMMONS, JR.,
JHT HOLDINGS, INC. and/or
UNIMARK TRUCK TRANSPORT, LLC,

      Defendants.
______________________________________________________________________________

                            NOTICE OF REMOVAL
______________________________________________________________________________

TO THE HONORABLE JUDGES IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF TENNESSEE:

       COME NOW the Defendants, Robert James Simmons, Jr. (incorrectly named “Richard

James Simmons, Jr.” in the style of this case,”) JHT Holdings, Inc., and Unimark Truck

Transport, LLC and respectfully aver as follows:

       1.      On July 20, 2017 Plaintiff commenced a civil action against Defendants in the

Circuit Court for Shelby County, Tennessee. Copies of Plaintiff’s Complaint and Summonses

are attached hereto collectively as Exhibit A.

       2.      The Complaint, being the original process in this case, was first received by

Defendant, Robert James Simmons, Jr, on August 2, 2017; by Defendant, JHT Holdings, on

August 2, 2017; and by Defendant, Unimark Truck Transport., on August 2, 2017.

       3.      This personal-injury lawsuit arises out of an automobile accident alleged to have

occurred in Shelby County, Tennessee. See Ex. A, Compl. ¶¶ 3.
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         4.    Plaintiff Brian Allen seeks damages in an amount exceeding the sum or value of

$75,000.00. See Ex. A, Compl. at 7, ¶ 13.

         5.    At all times material hereto, Plaintiff was and as a resident of the State of

Tennessee. See Ex. A, Compl. ¶ 1.

         6.    At all times material hereto, Defendant, Robert James Simmons, Jr., was and is a

citizen and resident of the State of North Carolina. See Ex. A, Compl. ¶ 2.

         7.    At all times material hereto, Defendant, JHT Holdings, Inc., was and is a

corporation incorporated under the laws of the State of Wisconsin with its principal place of

business in the state of Wisconsin.

         8.    At all times material hereto, Defendant, Unimark Truck Transport, LLC, was and

is a corporation incorporated under the laws of the State of Missouri with its principal place of

business located in the State of Missouri.

         9.    Diversity of citizenship within the meaning of 28 U.S.C. § 1332 exists in this case

since:

               (a)     Plaintiff, Brian Allen, is a citizen and resident of the State of
                       Tennessee;

               (b)     Robert James Simmons, Jr. is not a citizen or resident of the State of
                       Tennessee;

               (c)    Defendant, JHT Holdings, Inc., is not a citizen or resident of the
                      State of Tennessee;

               (d)     Defendant, Unimark Truck Transport, LLC, is not a citizen or resident of
                       the State of Tennessee;

         10.   Furthermore, diversity of citizenship existed at the time the action sought to be

removed was commenced and continues through the time of filing of this notice, such that

Defendants are entitled to removal pursuant to 28 U.S.C. § 1441 and 28 U.S.C. § 1446.




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        11.    Additionally, jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332

since, based on Plaintiff’s prayer for relief for “the sum of FIVE HUNDRED THOUSAND

DOLLARS ($500,000.00),” the amount in controversy exceeds the sum of $75,000.00.

        12.    It has been less than thirty (30) days since Defendants were served with the

Summonses and Complaint.

        13.    Defendants desire to remove the above-captioned action, now pending in the

Circuit Court of Shelby County, Tennessee, to this Honorable Court pursuant to 28 U.S.C. §

1446.

        WHEREFORE, Defendants, Robert James Simmons, JHT Holdings, Inc. and Unimark

Truck Transport, LLC, pray that the above-captioned action, now pending in the Circuit Court

Shelby County, Tennessee, be removed to this Honorable Court.



                                             Respectfully submitted,

                                             s/Lee L. Piovarcy
                                             Lee L. Piovarcy (Tenn. Bar No. 8202)
                                             Samuel M. Fargotstein (Tenn. Bar No. 31115)
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                                             Attorneys for Defendants

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing was served
upon the below-listed counsel this 11th day of August, 2017, by first-class mail, postage prepaid
to Louis P. Chiozza, Jr., Attorney for Plaintiff, 230 Adams Avenue, Memphis, TN 38103.

                                                     s/ Lee L. Piovarcy



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